SENDER: COMPLETE TRIS SECTION COMPLETE THIS SECTION ON DELIVERY

 

 

™“@ Complete items 1, 2, and 3. Also complete A. Sigpature
item 4 if Restricted Delivery is desired. X : Ue Gi Agent
@ Print your name and address on the reverse rele | R CI Addressee
So that we can return the card to you. B. Received by (Printed Name) _) |C. péte ofDelivery
@ Attach this card to the back of the mailpiece, , " Ws Ve
or on the front if space permits.

 

 

 

D. Is delivery address different from item 42 CT Yes

1. Article Addressed to: If YES, enter delivery address below: 2 No

‘tty ato

 

 

 

 

 

 

 

 

U.S. Department of Justice <
angie and Customs Enforcemeftt 3, Service Type
0 East Knapp Street | rtified Mail® 1 Priority Mail Express™
Mi ilwaukee, Wi 53202 Registered Cl Return Receipt for Merchandise
eee eee . I rennin = at a (1 Insured Mail CI Collect on Delivery
4. Restricted Delivery? (Extra Fee) CO Yes
2. Article Number mane weer:

So
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(Transfer from service label) r ‘00 ‘2740 oo003 “54b2 S082
PS Form 3811, July 2013 Domestic Return Receipt

 
 

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TEE AWRR  o . Permit No. G-10

 

 

 

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_° Sender: Please print your name, address, and ZIP+4® in this box®

 

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United States District Court

120 N. Henry Street, Room 320
Madison, WI 53703

 

 

 

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